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                        Exhibit B
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                    DECLARATION OF OSCAR SARABIA ROMAN

      I, Oscar Sarabia Roman, declare as follows:

      1. I am a lawyer at the American Civil Liberties Union Immigrants’ Rights Project. I

         represent the Petitioners in this case.

      2. On May 12, 2025, I visited Bluebonnet Detention Center with my colleague Talia

         Roma. Bluebonnet is located in Anson, Texas, about a three-hour drive from the

         nearest large city, Dallas. We met with individuals detained at Bluebonnet in an

         attorney visitation area that had two meeting rooms available.

      3. Ms. Roma and I had to provide a list of names and A-numbers in advance in order to

         speak with individuals. Facility staff informed us that we were not permitted to speak

         with individuals whose names or A-numbers we did not have.

      4. The detainees we spoke with stated that they do not have access to computers. They

         can use a tablet to message their families or make video calls to loved ones. The

         individuals we spoke with were not aware of any other applications on the tablets.

      5. The people we met with could not read or write in English. They would have no way

         to draft a habeas petition in English to submit to a court on their own.

      6. We spoke to a number of people who had received a notice of designation under the

         Alien Enemies Act. Several brought the notices to our appointments. But no one

         understood what the notices said because they were in English. Not a single person

         we spoke with, even those who had already received AEA removal notices, knew

         what habeas corpus meant.

      7. Of the ten people that my colleagues at the ACLU of Texas spoke with at Bluebonnet

         Detention Center on April 18, 2025, at least three are no longer located at Bluebonnet.
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          According to ICE’s detainee locator, one is detained at Eden Detention Center and

          two are detained at Prairieland Detention Center. All three of those individuals

          received AEA removal notices while detained at Bluebonnet. Several individuals I

          spoke with on May 12 reported that a number of people who were given notices and

          put on buses on April 18 were subsequently transferred to detention facilities other

          than Bluebonnet.



Executed on May 12, 2025 in Abilene, TX.

                                                                        /s/ Oscar Sarabia Roman

                                                                           Oscar Sarabia Roman
